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                       EXHIBIT B

                       Disbursements
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Category       Work        Timekeeper     Amount          Cost Description
               Date        Name
Meals -        8/6/2024    Lauren Doxey   $20.00          Doxey, Lauren – Doxey, Lauren-Local
Overtime                                                  Meals-08/6/2024-Dinner- Evening
                                                          work

MEALS OVERTIME:                           $20.00
Reproduction – 8/5/2024    N/A            29.20           Reproduction – Copies – Date:
Copies                                                    8/5/2024, Page Count: 292 pages
                                                          ($0.10 per page), David Erroll
Reproduction – 8/5/2024    N/A            25.30           Reproduction – Copies – Date:
Copies                                                    8/5/2024, Page Count: 253 pages
                                                          ($0.10 per page), Kimberly Black
Reproduction – 8/6/2024    N/A            10.60           Reproduction – Copies – Date:
Copies                                                    8/6/2024, Page Count: 106 pages
                                                          ($0.10 per page), Kimberly Black
Reproduction – 8/16/2024   N/A            162.40          Reproduction – Copies – Date:
Copies                                                    8/16/2024, Page Count: 1,624 pages
                                                          ($0.10 per page), Kimberly Black
REPRODUCTION TOTAL:                       $227.50
GRAND TOTAL:                              $247.50




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